         Case 2:24-cv-00135-BSM                 Document 1           Filed 07/25/24         Page 1 of 22
                                                                                                   FILED
                                                                                              U.S. DISTRICT COURT
                                                                                          EASTERN DISTRICT ARKANSAS

                                                                                                   JUL 2 5·2024
                                                                                                           ·.
                           IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF ARKANSAS B t
                                      DELTA DIVISION         y:_=--,~'-11----=0=e""'"pc=L=ER~K

MICHAEL GRANT                                                                                      PLAINTIFF

V.                                  CASENO.Q:a~-~v-1~-~

JASON KENNEDY; ISMAEL CLAY;
CECIL LANGSTON; NICK MCPHERSON;
                                                       This case assigned to Di\lrf.l.;!.~J!i                I~
                                                       and to Magistrate Judge.!..MUJ.......,~Je.t.....,&..,_ _ _ __
COLE STRAYHORN; JARREOUS JOHNSON;
all individually and in their official capacity, as an
officer for the City of West Memphis                                                DEFENDANTS

                                         NOTICE OF REMOVAL

        Come now Defendants, Jason Kennedy, Ismael Clay, Cecil Langston, Nick McPherson,

Cole Strayhorn, and Jarreous Johnson 1, all individually and officially, ("Defendants"), by and

through their attorney, Jenna Adams, and for their Notice of Removal, state as follows:

        1.       Plaintiff filed a Complaint on June 17, 2024, in the Circuit Court of Crittenden

County, Arkansas, Case No. 18CV-24-495. Defendants named were Jason Kennedy, Ismael Clay,

Cecil Langston, Nick McPherson, Cole Strayhorn, and Jarreous Johnson2, all individually and

officially.

        2.       Defendants have filed an Answer to the Complaint on July 25, 2024. Defendants

have simultaneously filed a Notice of Parties and State Court of Removal with the Circuit Court

of Crittenden County, Arkansas, pursuant to 28 U.S.C. §1446(d).

        3.       Plaintiff's Complaint alleges violations of his constitutional rights under 42 U.S.C.

§§ 1981, 1983, 1985, 1986, including violations of the First, Fourth, and Fourteenth Amendments

to the United States Constitution, as well as violations under the Arkansas Constitution, Arkansas

Civil Rights Act, and the state tort claims of assault and battery.


1 Plaintiff incorrectly spelled Jarius Johnson's name in the case style and paragraph I of the Complaint.
2 Plaintiff incorrectly spelled Jarius Johnson's name in the case style and paragraph I of the Complaint.
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       4.      28 U.S.C. § 1441(a) allows a defendant to remove civil actions from state to federal

court when such actions are within the original jurisdiction of the federal court. Original federal

question jurisdiction is vested in the federal courts under 28 U.S.C. § 1331 regarding cases "arising

under" the Constitution and laws of the United States, regardless of the amount of controversy.

This Court has both original and removal jurisdiction over United States Constitution causes of

action. Plaintiffs Complaint clearly states a claim that arises under the United States Constitution.

Thus, original federal jurisdiction is vested pursuant to 28 U.S.C. §1331 and removal is proper

under the federal removal statutes.

       5.      Venue is proper in this Court.

       6.      A true and correct copy of the pleadings served on Defendants are attached hereto

as Exhibit "A" and incorporated herein by this reference, these constituting all process, pleadings

and orders which have been served on Defendants. The Answer filed on behalf of the Defendants

is also attached hereto as Exhibit "B" for the convenience of the Court.

        7.     Pursuant to 28 U.S.C. §1446, Defendants herby give notice of the removal of this

action from the Circuit Court of Crittenden County, Arkansas, to the United States District Court

for the Eastern District of Arkansas.

        Wherefore, Defendants pray that this action be removed from the Circuit Court of

Crittenden County, Arkansas, to the United States District Court for the Eastern District of

Arkansas, in accordance with 28 U.S.C. §1331, §1441 and §1446, and for all other just and proper

relief to which there is entitlement.




                                                  2
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                                            Respectfully submitted,

                                            DEFENDANTS


                                            By: - - = - ~ 1 - 1 - - . . . . . : . . ; : : . = ~ ~ ~ - - - -
                                            Jenna Ad
                                            P.O. Box
                                            North Little Rock, AR 72115
                                            TELEPHONE: (501) 978-6115
                                            FACSIMILE: (501) 978-6558
                                            EMAIL: jenadams@arml.org

                               CERTIFICATE OF SERVICE

       I, Jenna Adams, hereby certify that on July 25, 2024, that a true and correct copy of the
above and foregoing has been served upon the attomey(s) of record of record as referenced via
email:

       Luther Oneal Sutter
       Lucien R. Gillham
       Caleb Baumgardner
       Sutter & Gillham, P.L.L.C.
       luther.sutterlaw@gmail.com
       lucien.gillham@gmail.com
       caleb@sglaw@gmail.com




                                                 3
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            IN THE CIRCUIT COURT OF CRITTENDEN COUNTY, ARKANSAS
                                CIVIL DIVISION

MICHAEL GRANT                                                             PLAINTIFF
V                     CASE NO.

JASON KENNEDY; ISMAEL CLAY; CECIL LANGSTON;
NICK MCPHERSON; COLE STRAYHORN; JARREOUS JOHNSON;
ALL INDIVIDUALLY AND IN THEIR OFFICIAL CAPACITY, AS AN
OFFICER FOR THE CITY OF WEST MEMPHIS

                                        COMPLAINT
       COMES the Plaintiff, MICHAEL GRANT, by and through counsel, SUTTER &

GILLHAM, P.L.L.C.; and, for this Complaint, states:

                                PARTIES AND JURISDICTION

       1.      Plaintiff MICHAEL GRANT is a resident and citizen of Crittenden County,

Arkansas, who brings this action against Separate Defendants, JASON KENNEDY, ISMAEL

CLAY, CECIL LANGSTON, NICK MCPHERSON, COLE STRAYHORN, JARREOUS

JOHNSON, who are all sued in their Individual and Official Capacities as Police Officers for the

City of West Memphis, an Arkansas Municipality.

       2.      This is an action brought for assault and battery, felony aggravated assault, and

violation Plaintiff's State and Constitutional rights, as allowed by the Arkansas Civil Rights Act

of 1993 and 42 USC 1983.

       3.      Since Plaintiff is a resident of this County, venue is proper and all actions were

taken under the color of law.

                           GENERALALLEGATIONSOFFACTS

       4.      In September of 2023, Plaintiff was visiting with friends when Defendants raided

the apartment complex.
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       5.      Plaintiff left the scene and was chased by the Defendants.

       6.      Plaintiff stopped running, and the Defendants attacked the Plaintiff without cause.

        7.     When the Defendants got to Plaintiff, they told him to put his hands up.

        8.     Plaintiff put his hands up and got on the ground. And as soon as Plaintiff hit the

ground. the narcotics officers started stomping him in my stomach, in his back and in his side.•·

       9.      Defendants seriously injured the Plaintiff, and he had to stay several days in the

hospital.

        10.    One or more Defendants used more force than was reasonably necessary effectuate

the arrest. while the other Defendants failed to intervene, thereby violating Plaintiffs State and

Federal Constitutional rights by failing to intervene.

                                      CAUSES OF ACTION
        12.    The Plaintiff reasserts and incorporates all previous paragraphs into each

subsequent Count. Each enumerated count also incorporates all allegations of all other counts.

               COUNT ONE: INDIVIDUAL LIABILITY OF DEFENDANTS

        13.    The individual Defendants committed the above-described actions and/or

omissions under the color of law and by virtue of their authority as a law enforcement officer and

employee of Defendant, City of West Memphis, and substantially deprived the Plaintiff of his

clearly established rights. privileges and immunities guaranteed to him as citizens of the United

States in violation of 42 U.S.C. § 1983 and deprived Plaintiff of the rights guaranteed to him by the

First, Fourth and Fourteenth Amendments of the United States Constitution including, but not

limited to, the following:

        a.      Freedom from unreasonable search and seizure of his person;
        b.      Freedom from deprivation of liberty without due process of law:
        c.      Freedom from summary punishment;
        d.      Freedom from the use of excessive and deadly force:
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       e.      Denial of equal protection of the law:
       f.      Freedom from racial discrimination:
       g.      Freedom from arbitrary governmental activity which shocks the
               conscience of a civilized society; and,
       h.      Retaliation for exercising his First Amendment rights through
               requesting basis for arrest.

       54.     Rash also attempted to interfere with Plaintiff's civil rights by committing the

above-described actions and/or omissions, under the color oflaw, and by vinue of the authority as

law enforcement officers and employees of the City of West Memphis by attempting to cover-up

the unconstitutional and unjustified exercise of force by engaging in efforts to intimidate witnesses

to the excessive force by threatening Plaintiff with criminal action. These unconstitutional and

illegal actions substantially deprived Plaintiff of his clearly established rights, privileges and

immunities guaranteed to him as citizens of the United States in violation of 42 U.S.C. §§ 1981,

1985 & 1986, by attempting to intimidate witnesses.

        55.    Defendants interfered with Plaintiffs civil rights by committing the above

described actions and/or omissions with an intent to discriminate against the Plaintiff on the basis

of their race, under the color of law, by virtue of their authority and in the scope of their

employment as law enforcement officers and employees of the City of West Memphis in violation

of 42 U.S.C. § 1981 and Title VI of the Civil Rights Act of 1964 by depriving Plaintiff, based on

his race or color, of their clearly established rights to equal benefit and like punishment. Therefore,

Defendants denied Plaintiff equal protection of laws because of their race or color.

        56.     As a result of the following acts and omissions, Defendants violated Plaintiff's

constitutional and federally protected rights and Plaintiff sustained serious and significant

damages.
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      COVNT II: MUNICIPAL LIABILITY AGAINST CITY OF WEST MEMPHIS

       57.     The City of West Memphis is under a constitutional duty to properly hire, provide

policy guidance. train, supervise and discipline the members of the West Memphis Police

Department, (hereinafter ·'WMPD''), to ensure that the policing activities of the WMPD are run

in a lawful manner, preserving to the citizens of the City the rights, privileges and immunities

guaranteed to him by the Constitutions of the United States of America and the State of Arkansas

and the laws of the United States of America and the State of Arkansas.

        58.     The City pennitted, encouraged. tolerated, and knowingly acquiesced to an official

pattern, practice or custom, of its police officers, including Defendant, Dunkin, in violating the

constitutional rights of the public at large, including Plaintiff.

        59.     The actions of Defendants complained of herein were unjustified, unreasonable,

unconstitutional, excessive and grossly disproportionate to the actions of the Plaintiff, and

constituted an unreasonable search and seizure effectuated through the use of excessive and deadly

force and a deprivation of Plaintitrs constitutional rights secured to him by the First, Fourth and

Fourteenth Amendment of the United States Constitution and other federally protected rights.

        60.     The City is directly liable to the Plaintiff for damages due to following policies,

practices and customs of the WMPD, which were in effect at the time and which were maintained

with deliberate indifference to the constitutional rights of citizens and which were the underlying

cause of the constitutional violations:

        a.      Failure to provide the West Memphis Police Department with sufficient funds
                for proper operation of the WMPD;

        b.      Failure to properly screen potential law enforcement officers, including
                Defendants, to detennine if they were qualified and fit to serve as law
                enforcement officers with the WMPD;
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 c.    Failure to properly and adequately train the WMPD's officers, including
       Defendants, regarding obvious law enforcement activities including, but not
       limited to: 1) patrolling procedures: 2) traffic stops; 3) Terry stops; 4)
       misdemeanor stops; 5) felony stops; 6) use of force; 7) use of deadly force;
       8) use of firearms and intermediate force weapons; 9) apprehending/arresting
       suspects; 10) taking cover; 11) use of audio/video recording devices; 12)
       providing medical attention; 13) summoning medical attention; 14) arresting
       procedures; 15) completion of reports and collection of evidence; 16)
       completion of Use of Force Reports; 17) investigating officer compliance
       with policy and procedure and critical incidents; 18) monitoring officer
       compliance with policy; 19) early warning systems; 20) racial profiling; and
       21) duty to intervene to prevent civil rights violations.

 d.    Failure to properly and adequately supervise and discipline the WMPD's
       officers, including Defendants, regarding obvious law enforcement activities
       including, but not limited to: 1) patrolling procedures; 2) traffic stops; 3)
       Terry stops; 4) misdemeanor stops; 5) felony stops; 6) use of force; 7) use
       of deadly force; 8) use of firearms and intermediate force weapons; 9)
       apprehending or arresting suspects; 10) taking cover; 11) use of audio/video
       recording devices; 12) providing medical attention; 13) summoning medical
       attention; 14) arresting procedures; 15) completion of reports and collection
       of evidence; 16) completion of Use of Force Reports; 7) investigating officer
       compliance with policy and procedure and critical incidents; 8) monitoring
       officer compliance with policy; 19) early warning systems; 20) racial
       profiling; and 21) civil rights laws and violations.

 e.    Failure to adequately monitor and evaluate the performance of the WMPD's
       officers, including Defendants, regarding their compliance with the laws and
       policies, practices and customs with respect to: 1) patrolling procedures; 2)
       traffic stops; 3) Terry stops; 4) misdemeanor stops; 5) felony stops; 6) use
       of force; 7) use of deadly force; 8) use of firearms and intermediate force
       weapons; 9) apprehending/arresting suspects; 10) taking cover; 11) use of
       audio/video recording devices; 12) providing medical attention; 13)
       summoning medical attention; 14) arresting procedures; 15) completion of
       reports and collection of evidence; 16) completion of Use of Force Reports;
       17) investigating officer compliance with policy and procedure and critical
       incidents; 18) monitoring officer compliance with policy; 19) early warning
       systems; 20) racial profiling; and 21) civil rights laws and violations.
  f.   Failure to adequately respond to and investigate complaints regarding officer
       misconduct by the citizenry of the WMPD 's officers, including Defendants,
       regarding: 1) patrolling procedures; 2) traffic stops; 3) Terry stops; 4)
       misdemeanor stops; 5) felony stops; 6) use of force; 7) use of deadly force;
       8) use of firearms and intermediate force weapons; 9) apprehending/arresting
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               suspects; l 0) taking cover; 11) use of audio/video recording devices; 12)
               providing medical attention; 13) summoning medical attention; 14) arresting
               procedures; 15) completion of reports and collection of evidence; 16)
               completion of Use of Force Reports; 17) investigating officer compliance
               with policy and procedure and critical incidents; 18) monitoring officer
               compliance with policy; 19) early warning systems; 20) racial profiling; and
               21) civil rights laws and violations.
       g.      The WMPD is aware that a "code of silence" exists among members of its
               department whereby officers of the WMPD will not intervene or report
               misconduct of fellow officers and cover-up improper conduct and has failed
               to take such steps to preclude its existence in the WMPD. As a result of the
               "code of silence" which exists at the WMPD, officers act unconstitutionally
               without fear of discipline from the WMPD.

       61.     The City knew, or should have known, that the above-referenced policies, practices,

and/or customs, translated into an underqualified and undertrained police force that was ill-

equipped to perform obvious and necessary law enforcement activities without exposing the public

to unwarranted danger of injury. Therefore, the City's policymakers were on actual, or

constructive, notice of the deficiencies with its policies, practices and customs which make officer

misconduct a foreseeable consequence.

       62.     The City knew, or should have known, that the above-referenced policies, practices,

and/or customs, would likely lead to the serious injury or death to persons in the City of West

Memphis and that such injuries were foreseeable; yet they disregarded that risk.

       63.    The aforementioned policies, practices and customs were inadequate in relation to

the specific tasks their officers must routinely perform and with respect to activities where there

is an obvious need for proper policies, practices and customs and therefore, illustrated its deliberate

indifference and/or reckless disregard to the consequences of officer misconduct.

        64.    The City's above referenced policies, practices and/or customs violated Plaintiff's

constitutional rights; and said policies, practices and/or customs were the moving force behind and

proximate cause of said violations.
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        65.    The City·s above referenced policies, practices and/or customs demonstrated a

deliberate indifference on the part of policymakers of the City to the constitutional rights of

citizens, including Plaintiff, and was the proximate cause of the injuries and damages sustained by

Plaintiff, and evidenced a reckless or callous indifference to the federally protected rights of

Plaintiffs.

        66.    By failing to recognize or correct the deficiencies with its policies, practices and

customs, the City consciously disregarded the known and foreseeable consequences thereof.

        67.    The City's deliberately indifferent policies, practices and customs were the moving

force behind the deprivation of their Plaintiff's constitutional rights.

        68.     There is a direct causal link between the policies, practices and customs and the

violation of Plaintiff's state and federal constitutional rights.

        69.     As a direct and proximate result of the foregoing policies, practices and customs of

the City, the violation of the state and federal constitutional rights of citizens by the members of

the WMPD and Defendants was substantially certain to occur. In addition, as a direct and

proximate result of the aforementioned policies, practices and customs of the City, Plaintiff's

constitutional rights were violated and they sustained injuries and damages.

                         COUNT III: ARKANSAS CIVIL RIGHTS ACT
         70.    In addition to violating Plaintiff's federally protected constitutional rights as

alleged in Counts I & II, the Defendants violated Plaintiff's clearly established rights guaranteed

to him by the Arkansas Constitution in violation of the Arkansas Civil Rights Act.

         71.    With respect to the violations of Plaintiff's state constitutional rights by Defendants,

Plaintiff incorporate the allegations set forth in Count I.
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       72.     With respect to the violations of Plaintiff's state constitutional rights by Defendant

City of West Memphis and the WMPD , Plaintiff incorporate the allegations set forth in Count II.

                               COUNT IV: STATE LAW TORTS
       73.     By virtue of the facts alleged herein, Plaintiff has been the victims of common law

assault and battery, as well as a felony of aggravated assault, and outrageous conduct, as well as a

victim of a felony as defined by Ark. Code Ann. § I Cr-118-107.

       74.     Plaintiff brings these state actions against the applicable Defendants as set forth

under Arkansas law which include claims against the City of West Memphis for all actions

performed by Defendants in the course and scope of his employment with the City of West

Memphis and Defendants any other actions.

                              COUNT VI: PUNITIVE DAMAGES
       78.     The actions set forth herein committed by Defendants were intentional, malicious,

reckless and performed with malice and caused Plaintiff serious emotional and physical damages,

entitling the Plaintiff to substantial award of punitive damages against Defendants.

                                      COUNT VII: DAMAGES

        79.    As a direct and proximate result of the aforementioned actions and omissions of the

Defendants, Plaintiffs constitutional rights were violated and Plaintiff was damaged. Plaintiff.<;

seek recovery from the Defendants, both jointly and severally, of all damages to which he may be

entitled for their injuries and damages to the fullest extent as possible under both state and federal

law, including, but not, the following:

        a.     Physical pain and suffering;
        b.     Emotional pain and suffering;
        c.     Medical expenses;
        d.      Permanent injuries;
        e.      Loss of enjoyment of life;·
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      f.      Loss of wages;
      g.      Loss of earning capacity:
      h.      Fright, fear, anxiety;
      1.      Punitive damages against the applicable Defendants;
      J.      Pre- and post-judgment interest;
      k.      Statutory and discretionary costs;
       l.     Attorneys' fees;
      m.      A declaratory judgment that the acts and conduct herein were unconstitutional;
       n.     Injunctive relief precluding the Defendants from engaging in the conduct
              complained of herein in the future and requiring the City of West Memphis to
              provide proper policy, training and supervision of its officers and holding him
              accountable for their misconduct; and,
       o.     All such further relief, both general and specific, to which they may be entitled
              under the premises.
                                                   JURY DEMAND
       80.    Plaintiff demands a trial by jury.
                                       PRAYERS FOR RELIEF
       WHEREFORE, PREMISES CONSIDERED, Plaintiff sues the Defendants, both jointly

and severally, for the injuries sustained by the Plaintiff and pray for a judgment against the

Defendants for compensatory damages in an amount to be determined by a jury as reasonable and

for all such further relief, both general and specific, to which they may be entitled under the

premises.

       WHEREFORE, PREMISES CONSIDERED, Plaintiff sue Defendants, bothjointly and

severally and prays for a judgment against Defendants for punitive damages on the Federal and

State claims and against the City under the ACRA in an amount to be determined by a jury as

reasonable and for all such further relief, both general and specific, to which they may be entitled

under the premises.
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       WHEREFORE, Plaintiff prays for appropriate compensatory damages exceeding

$1,000,000.00; for a reasonable attorneys· fees and costs; declaratory judgment in that the

Defendants have violated Plaintiff's State and Constitutional rights; for an injunction requiring the

City of West Memphis to train its police officers; for a trial by jury; and, for all other proper relief.

                                                        Respectfully submitted,




                                                By:     Luther Oneal Sutter, Esq., ARBN 95031
                                                        Lucien R. Gillham, Esq., ARBN 99199
                                                        Caleb Baumgardner, Esq., ARBN2014183
                                                        Attorneys for Plaintiff
                                                        SUTTER & GILLHAM, P.L.L.C.
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                                                                                                  ELECTRONICALLY FILED
                                                                                                     Crittenden County Circuit Court
                                                                                                      Terry Hawkins, Circuit Clerk
                                                                                                     2024-Jul-25 09:08:03
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             IN THE CIRCUIT COURT OF CRITTENDEN COUNTY, ARKANSAS
                                 CIVIL DIVISION

MICHAEL GRANT                                                                                      PLAINTIFF

v.                                        CASE NO. lSCV-24-49S

JASON KENNEDY; ISMAEL CLAY;
CECIL LANGSTON; NICK MCPHERSON;
COLE STRAYHORN; JARREOUS JOHNSON;
all individually and in their official capacity, as an
officer for the City of West Memphis                                                           DEFENDANTS

                                       ANSWER TO COMPLAINT

        Comes now Defendants, Jason Kennedy, Ismael Clay, Cecil Langston, Nick McPherson,

Cole Strayhorn, and Jarreous Johnson1, all individually and officially, ("Defendants"), by and

through their attorney, Jenna Adams, and for their Answer, state:

                                     PARTIES AND JURISDICTION

        1.       Defendants are without sufficient knowledge or information to admit or deny

whether Plaintiff is a resident or citizen of Crittenden County, Arkansas, therefore, it is denied.

Defendants acknowledge they are being sued in their individual and official capacities as police

officers for the City of West Memphis, which is a municipality in the State of Arkansas.2

Defendants deny that Plaintiff has a viable cause of action for any alleged claims due to their full

and complete denial of any and all wrongdoing alleged.

        2.       Defendants acknowledge that Plaintiff is bringing causes of action under the

Arkansas Civil Rights Act of 1993 and 42 U.S.C § 1983, as well as claims of assault and battery,


1 Plaintiff incorrectly spelled Jarius Johnson's name in the case style and paragraph I of the Complaint.
2 Plaintiff incorrectly spelled Jarius Johnson's name in the case style and paragraph I of the Complaint.
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and felony aggravated assault. Defendants deny that Plaintiff has a viable cause of action for any

alleged claims due to their full and complete denial of any and all wrongdoing alleged.

       3.      Paragraph 3 of Plaintiff's Complaint is jurisdictional in nature, thus no response is

necessary. To the extent that a response is deemed necessary, Defendants deny that Plaintiff has a

viable cause of action for any alleged claims due to their full and complete denial of any and all

wrongdoing alleged. Defendants are removing this case to federal court as jurisdiction and venue

is proper there.

                              GENERAL ALLEGATIONS OF FACTS

        4.         Defendants are without sufficient knowledge or information to admit or deny the

allegations contained in Paragraph 4 of Plaintiff's Complaint, therefore it is denied. Defendants

specifically deny any and all wrongdoing alleged.

        5.         Defendants admit that Plaintiff fled on foot from law enforcement officers, who

then pursued him. Defendants deny that all named Defendants were involved in the foot pursuit of

Plaintiff. Defendants specifically deny any and all wrongdoing alleged.

        6.         Defendants deny the allegations contained in Paragraph 6 of Plaintiff's Complaint.

Defendants specifically deny any and all wrongdoing alleged.

        7.         Defendants admit the allegations contained in Paragraph 7 of Plaintiff's Complaint.

Defendants specifically deny any and all wrongdoing alleged.

        8.         Defendants admit that Plaintiff put his hands up and got on the ground. Defendants

deny the remaining allegations contained in Paragraph 8 of Plaintiff's Complaint. Defendants

specifically deny any and all wrongdoing alleged.

        9.         Defendants deny the allegations contained in Paragraph 9 of Plaintiff's Complaint.

Defendants specifically deny any and all wrongdoing alleged.




                                                    2
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       10.      Defendants deny the allegations contained in Paragraph 10 of Plaintiff's Complaint.

Defendants specifically deny any and all wrongdoing alleged.

                                         CAUSES OF ACTION

        12.     Defendant realleges and incorporates by reference the responses contained in the

preceding paragraphs of this Answer as though fully set forth herein. 3

                COUNT ONE: INDIVIDUAL LIABILITY OF DEFENDANTS

        13.     Defendants admit that they were acting under color of law. Defendants deny the

remaining allegations contained in Paragraph 13, including subparts (a) through (h), of Plaintiff's

Complaint. Defendants specifically deny any and all wrongdoing alleged.

        54.     Paragraph 54 of Plaintiff's Complaint refers to someone named "Rash," who is not

a party to this case. Assuming the allegations contained in Paragraph 54 of Plaintiff's Complaint

refer to Defendants, Defendants deny the allegations due to their complete denial of any and all

wrongdoing alleged. 4

        55.      Defendants deny the allegations contained in Paragraph 55 of Plaintiff's Complaint.

Defendants specifically deny any and all wrongdoing alleged.

        56.      Defendants deny the allegations contained in Paragraph 56 of Plaintiff's Complaint.

Defendants specifically deny any and all wrongdoing alleged.

      COUNT II: MUNICIPAL LIABILITY AGAINST CITY OF WEST MEMPHIS

        57.      Paragraph 57 of Plaintiff's Complaint contains conclusions oflaw, thus no response

is necessary. Defendants deny any and all wrongdoing alleged.




3 Plaintiff's Complaint is missing Paragraph 11. Defendants have numbered the paragraphs in their Answer to match
the paragraphs as numbered in Plaintiff's Complaint.
4 Plaintiff's Complaint is missing Paragraphs 14-53. Defendants have numbered the paragraphs in their Answer to

match the paragraphs as numbered in Plaintiff's Complaint.


                                                       3
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       58.       Paragraph 58 of Plaintiff's Complaint refers to someone named "Dunkin," who is

not a party to this case. Assuming the allegations contained in Paragraph 58 of Plaintiff's

Complaint refer to Defendants, Defendants deny the allegations due to their complete denial of

any and all wrongdoing alleged.

       59.       Defendants deny the allegations contained in Paragraph 59 of Plaintiff's Complaint.

Defendants specifically deny any and all wrongdoing alleged.

       60.       Defendants deny the allegations contained in Paragraph 60, including subparts (a)

through (g), of Plaintiff's Complaint. Defendants specifically deny any and all wrongdoing

alleged.

       61.       Defendants deny the allegations contained in Paragraph 61 of Plaintiff's Complaint.

Defendants specifically deny any and all wrongdoing alleged.

       62.       Defendants deny the allegations contained in Paragraph 62 of Plaintiff's Complaint.

Defendants specifically deny any and all wrongdoing alleged.

       63.       Defendants deny the allegations contained in Paragraph 63 of Plaintiff's Complaint.

Defendants specifically deny any and all wrongdoing alleged.

           64.   Defendants deny the allegations contained in Paragraph 64 of Plaintiff's Complaint.

Defendants specifically deny any and all wrongdoing alleged.

           65.   Defendants deny the allegations contained in Paragraph 65 of Plaintiff's Complaint.

Defendants specifically deny any and all wrongdoing alleged.

           66.   Defendants deny the allegations contained in Paragraph 66 of Plaintiff's Complaint.

Defendants specifically deny any and all wrongdoing alleged.

           67.   Defendants deny the allegations contained in Paragraph 67 of Plaintiff's Complaint.

Defendants specifically deny any and all wrongdoing alleged.




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       68.      Defendants deny the allegations contained in Paragraph 68 of Plaintiff's Complaint.

Defendants specifically deny any and all wrongdoing alleged.

       69.      Defendants deny the allegations contained in Paragraph 69 of Plaintiff's Complaint.

Defendants specifically deny any and all wrongdoing alleged.

                          COUNT Ill: ARKANSAS CIVIL RIGHTS ACT

        70.     Defendants deny the allegations contained in Paragraph 70 of Plaintiff's Complaint.

Defendants specifically deny any and all wrongdoing alleged.

        71.     Defendants reallege and incorporate by reference the responses contained in the

preceding paragraphs of this Answer as though fully set forth herein and specifically deny that

they violated Plaintiff's state constitutional rights.

        72.      Defendants reallege and incorporate by reference the responses contained in the

preceding paragraphs of this Answer as though fully set forth herein and specifically deny that

they violated Plaintiff's state constitutional rights.

                                  COUNT IV: STATE LAW TORTS

        73.      Defendants deny the allegations contained in Paragraph 73 of Plaintiff's Complaint.

Defendants specifically deny any and all wrongdoing alleged.

        74.      Defendants acknowledge that Plaintiff brings these claims pursuant to Arkansas

law. Defendants deny t that Plaintiff has a viable cause of action for any alleged claims due to their

full and complete denial of any and all wrongdoing alleged. 5

                                 COUNT VI: PUNITIVE DAMAGESi




5 Plaintiff's Complaint is missing Paragraphs 75-77. Defendants have numbered the paragraphs in their Answer to
match the paragraphs as numbered in Plaintiff's Complaint.
6 Plaintiff's Complaint was missing a Count V.




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       78.      Defendants deny the allegations contained in Paragraph 78 of Plaintiff's Complaint.

Defendants specifically deny any and all wrongdoing alleged.

                                     COUNT VII: DAMAGES

        79.     Defendants deny the allegations contained in Paragraph 79, including subparts (a)

through (o), of Plaintiff's Complaint. Defendants specifically deny any and all wrongdoing

alleged.

        80.     Plaintiff's request for a trial by jury speaks for itself. Defendants request a trial by

jury as to all issues remaining at that time.

        81.     Defendants deny that the Plaintiff is entitled to the relief requested in all three (3)

of his WHEREFORE Paragraphs of his Complaint due to their complete denial of any and all

wrongdoing alleged.

        82.     Defendants deny each and every allegation not specifically admitted herein.

        83.     Defendants reserve the right to plead further upon additional investigation and

discovery, to include an amended answer.

                                   AFFIRMATIVE DEFENSES

           I.   The allegations of the Complaint fail to state facts or a claim upon which relief may

be granted.

           2.   Defendants are entitled to statutory, tort, qualified, and punitive damages immunity

under all applicable doctrines of immunity pursuant to state and federal law including but not

limited to Ark. Code Ann. § 21-9-301.

           3.   Defendants assert they did not violate Plaintiff's rights.

           4.   Defendants assert any and all affirmative defenses found applicable pursuant to

Fed. R. Civ. P. 8(c), including, but not limited to,justification and privilege.




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        5.      Defendants submit that none of their actions constituted unreasonable force.

        6.      Defendants in their individual capacities affirmatively plead qualified and good

faith immunities, and they would show the Court that any and all actions taken were based upon

probable cause and reasonable cause, were those of objectively reasonable officers, and were in

accordance with the provisions of statutes and common law of the United States of America and

the State of Arkansas.

        7.      Defendants took no actions alleged in the Complaint because Plaintiff allegedly

engaged in any protected activity under the Federal and State Constitutions.

        8.      Defendants assert any affirmative defense suggested by the Supreme Court of the

United States Court in the cases of Garcetti, Connick, and Pickering. This includes, but is not

limited to, the defense that any speech uttered by Plaintiff about which his Complaint pertains was

not a matter of public concern. Further, no alleged protected speech was a motivating factor or

cause in fact for Plaintiff's arrest.

        9.      Defendants assert that Plaintiff was not discriminated against on the basis of his

race.

        I 0.    Plaintiff's claims are barred in whole, or in part, by his failure to complete required

procedural prerequisites to this lawsuit.

        11.     Plaintiff has failed to exhaust applicable and available administrative remedies.

        12.     As deemed applicable, Defendants assert the affirmative defenses of res judicata,

collateral estoppel, Rooker-Feldman, Younger abstention doctrine, and Heck v. Humphrey.

        13.     Defendants assert that to the extent Plaintiff sustained any damages, the damages

were a direct and proximate result of Plaintiff's own conduct.

        14.     Punitive damages are not recoverable against a municipality as a matter oflaw.




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        15.   Defendants assert that Plaintiff's alleged damages did not occur as a result of any

custom, policy, or practice of the City of West Memphis.

        16.   There has been no failure to train or supervise by any Defendant.

        17.   Defendants expressly deny that they can be held liable to the Plaintiff under the

theory of respondeat superior.

        18.   Defendants reserve the right to amend their answer to assert any such defenses as

may become available or apparent during the pendency of this action.

        WHEREFORE, Defendants pray that the relief prayed for by the Plaintiff be denied and

that the Complaint be dismissed, and for all other just and proper relief to which they may be

entitled.

                                            Respectfully submitted,

                                            DEFENDANTS

                                            By: Isl Jenna Adams
                                            Jenna Adams, Ark. Bar No. 2015082
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                                CERTIFICATE OF SERVICE

       I, Jenna Adams, hereby certify that on July 25, 2024, I electronically filed the foregoing
with the Clerk of the Court using the eFlex system which shall send notification to the following
eFlex participants:

       Luther Oneal Sutter
       Lucien R. Gillham
       Caleb Baumgardner
       Sutter & Gillham, P.L.L.C.
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                                            Isl Jenna Adams
                                            Jenna Adams




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